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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
v.                                                   )      Case No. 4:10CR 3042
                                                     )
MARCUS ARNETT POLK,                                  )
                                                     )
                              Defendant.             )

                                              ORDER

        THIS MATTER comes before the Court on defendant's Request to File A Restricted Motion,

filing 89. The Court, being fully advised in the premises, finds that said Motion should be granted.

        IT IS THEREFORE ORDERED that, pursuant to NECrimR 49.1, the Clerk shall file

defendant’s Motion to Continue Sentencing restricted.

        IT IS FURTHER ORDERED that said Motion be made available to case participants only.

        DATED this 1st day of April, 2011.

                                                     BY THE COURT:

                                                     Richard G. Kopf
                                                     United States District Judge
